                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )       NO. 3:10-00004
                                                 )       JUDGE CAMPBELL
KATHY MEDLOCK                                    )

                                          ORDER

      Pending before the Court is a Motion for Extension of Time for Defendant to Self-Report

(Docket No. 385). The Motion is DENIED.

      It is so ORDERED.



                                                 _________________________________
                                                 TODD J. CAMPBELL
                                                 UNITED STATES DISTRICT JUDGE




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